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                    UNITED STATES DISTRICT COURT

                        DISTRICT OF NEW JERSEY

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UNITED STATES OF AMERICA,

     Plaintiff,

v.                                            No. 13-CR-00417 (AET)

COURTNEY JOHNSON,

     Defendant.

--------------------------X

                            NOTICE OF APPEAL

     Notice is hereby given that COURTNEY JOHNSON, defendant in
the above named case, hereby appeals to the United States Court
of Appeals for the Third Circuit from the final judgment filed
and entered in this action on DECEMBER 01, 2015, and from each
and every part thereof.



                              THOMAS R. ASHLEY
                      _/s/_____________________
                      THOMAS R. ASHLEY, ESQ.
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Dated:    DECEMBER 10, 2015
